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                        O FFICE OF SPECIAL MASTERS
                                           No. 17-554V
                                      Filed: August 18, 2017
                                       (Not for Publication)
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********************************* ** **                                           U.S. COURT OF
                                                                                 FEDERAL CLAIMS
CHRISTOPHER T. WYNN,                  *
                                      *
            Petitioner,               *
                                      *
V.                                    *
                                      *
SECRETARY OF HEALTH                   *
AND HUMAN SERVICES,                   *
                                      *
                    Respondent.       *
                                              *
*************************************


                             DECISION DISMISSING PETITION


        On April 20, 2017, the Petitioner, Christopher Wynn, filed this petition, alleging that he
was injured by unspecified vaccinations administrated to him in 2007 and prior years. In an
order filed on April 28, 2017, I ordered the Petitioner to provide the dates and types of
vaccinations in question, and any evidence that he was harmed by vaccinations.

         On May 25, Petitioner filed a letter describing some vaccinations administered to him in
1991 through 2008, attaching some medical records which indicated that he had received some
of those vaccinations, but no evidence that he was harmed by any vaccinations. On June 21, I
fi led an order instructing Petitioner that his petition appears to have been untimely filed, and
giving him 30 days in which to respond to that issue of timely filing.

        Since I issued that Order, however, Petitioner has filed only a letter signed by his mother,
Chandra Price, filed on July 17, 20 17. In that letter, Ms. Price described a Vaccine Act petition
that she filed in 2008, which had also alleged vaccine injmies to her son Christopher Wynn.
That prior petition, No 08-93V, however, was dismissed by Special Master Gary Golkiewicz, on
June 1, 2012, because Ms. Price had fa iled to demonstrate that her son had any vaccine-caused
mJm1es.
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       After reviewing the record of Case No. 08-93 V, I find that the case was appropriately
dismissed by Special Master Golkiewicz. Further, Ms. Price's letter filed on July 17 in this case
contains no information or allegations indicating that this case was filed in a timely fashion.

        I have great sympathy for the difficulties of the Petitioner, Mr. Wynn, and his mother.
But the record of this case makes it quite clear that the petition in this case, alleging injury by
vaccinations administered in 1991 - 2008, was untimely filed. I (In addition, I note that nothing
in the records of either case contains any evidence that in fact Mr. Wynn was harmed by
vaccinations.)

       Accordingly, this case is hereby DISMISSED as untimely filed. See 42 U.S.C. § 300aa-
16(a)(6).

IT IS SO ORDERED.



                                                            Ge~ ~JSpecial Master




1 I also seen no evidence justifying "equitable tolling" of the statute of limitations in this case.
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